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            In the United States Court of Federal Claims
                                            No. 13-1025C
                                       (Filed: January 3, 2014)

*************************************
JANIE WEEKS,                        *
                                    *
                  Plaintiff,        *
                                    *
 v.                                 *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
*************************************

                                               ORDER

          On December 30, 2013, plaintiff in the above-captioned case filed a complaint, which
was accompanied by an application to proceed in forma pauperis. Pursuant to 28 U.S.C. § 1915,
courts of the United States are permitted to waive filing fees and security under certain
circumstances.1 See 28 U.S.C. § 1915(a)(1) (2012); see also Hayes v. United States, 71 Fed. Cl.
366, 366-67 (2006) (concluding that 28 U.S.C. § 1915(a)(1) applies to both prisoners and
nonprisoners alike). Plaintiffs wishing to proceed in forma pauperis must submit an affidavit that
lists all of their assets, declares that they are unable to pay the fees or give the security, and states
the nature of the action and their belief that they are entitled to redress. 28 U.S.C. § 1915(a)(1).

        Upon a review of her application, and without awaiting a response from defendant, the
court concludes that plaintiff has satisfied all three requirements set forth in § 1915(a)(1).
Accordingly, the court GRANTS plaintiff’s application and waives her filing fee.




        1
          While the Court of Federal Claims is not generally considered to be a “court of the
United States” within the meaning of title twenty-eight of the United States Code, the court has
jurisdiction to grant or deny applications to proceed in forma pauperis. See 28 U.S.C. § 2503(d)
(deeming the Court of Federal Claims to be “a court of the United States” for the purposes of 28
U.S.C. § 1915); see also Matthews v. United States, 72 Fed. Cl. 274, 277-78 (2006) (recognizing
that Congress enacted the Court of Federal Claims Technical and Procedural Improvements Act
of 1992, authorizing the court to, among other things, adjudicate applications to proceed in forma
pauperis pursuant to 28 U.S.C. § 1915).
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IT IS SO ORDERED.

                                 s/ Margaret M. Sweeney
                                 MARGARET M. SWEENEY
                                 Judge
